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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                            CASE NO.: Case No. 17-cv-62007-GAYLES




 KARIN BURRELL as personal
 representative of the Estate of
 SCOTT BURRELL, Deceased,

 Plaintiffs,

 v.

 ARMOR CORRECTIONAL HEALTH SERVICES, INC.,
 a Florida corporation, and;
 SCOTT ISRAEL, in his official capacity
 as Sheriff of Broward County, Florida, and;
 STANLEY FRANKOWITZ D.O.,
 JOHN MARTIN M.D.,
 SCOTT KESSON,
 PHYSICIAN’S ASSISTANT KAREN MIZRAHY,
 NURSE JERI MONICAL,
 L.P.N. JUDITH JONES,
 NURSE CYNTHIA MCDONALD,
 L.P.N. PATRICIA RELL, each individually

 Defendants.
 _________________________________________________/


                                         NOTICE OF SETTLEMENT


          Plaintiff, KARIN BURRELL, as the personal representative for the ESTATE OF SCOTT

  BURRELL, by and through the undersigned submits this Notice of Settlement and informs the

  Court as follows:

      1. All Plaintiff and all Defendants have reached an agreement to resolve the claims against

          all Defendants.

      2. The parties are in the process of finalizing a settlement agreement and will file a

          Notice of Dismissal shortly.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on 5/14/18, I electronically filed the foregoing document with the
  Clerk of Court using the CM/ECF. I also certify that the foregoing document is being served this
  day on all counsel of record identified on the attach Service List via the transmission of Notices
  of Electronic Filing generated by CM/ECF.

                                                                       RESPECTFULLY SUBMITTED,

                                                                              LAUER & CURRIE, P.A.
                                                                                         644 SE 5 Ave.
                                                                             Fort Lauderdale, FL 33301

                                                                                     By: /s/Greg Lauer
                                                                                       Greg Lauer, Esq.
                                                                                   Attorney for Plaintiff
                                                                                       FL Bar # 652709
                                                                                        t. 954.533.4498
                                                                                         f.954.533.4501
                                                                                      greg@law-lc.com


                                           SERVICE LIST

 S. RENEE STEPHENS LUNDY, ESQUIRE
 Florida Bar No. 0501867
 Dean, Ringers, Morgan & Lawton, P.A.
 Post Office Box 2928
 Orlando, Florida 32802-2928
 Tel: 407-422-4310 Fax: 407-648-0233
 RLundy@drml-law.com
 BrittanK@drml-law.com
 Denise.Covert@drml-law.com
 Attorneys for Defendant, ARMOR
